                                 OPINION
On November 4, 1987, appellant, Jeffrey C. Bayless, pleaded guilty to one count of attempted rape, in violation of R.C.2923.02. The Lake County Court of Common Pleas subsequently sentenced appellee to serve an indefinite term of incarceration of five to fifteen years. In a judgment entry filed September 11, 1997, the trial court adjudicated appellant to be a sexual predator pursuant to Ohio's version of Megan's Law, recently amended R.C. Chapter 2950.
Appellant timely appealed, asserting that Ohio's version of Megan's Law is unconstitutional. Pursuant to this court's decision in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, R.C. Chapter 2950 as applied to sexual "predators" is unconstitutional and void in its entirety; therefore, the judgment of the trial court is reversed and remanded for proceedings consistent with this opinion.
JUDGE ROBERT A. NADER
FORD, P.J.,
O'NEILL, J., concur.